 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 1 of 31 Page ID #:855




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11   others similarly situated
12
                         UNITED STATES DISTRICT COURT
13

14       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

15   DONEYDA PEREZ as an individual          Case No.: 8:16-CV-01440-JLS-DFM
16   and on behalf of all others similarly
     situated,                               SECOND AMENDED CLASS
17                                           ACTION COMPLAINT AND JURY
18                      Plaintiff,           DEMAND

19               v.                          Assigned for All Purposes to:
20                                           Hon. Josephine L. Staton; Dept. 10A
     DIRECTV GROUP HOLDINGS, LLC,
21   a Delaware Corporation, LONSTEIN        Complaint Filed: August 4, 2014
22   LAW OFFICES, P.C., a New York           Trial Date:      None Yet Set
     Professional Corporation; SIGNAL
23   AUDITING, INC., a New York              REQUEST FOR JURY TRIAL
24   Corporation, JULIE COHEN
     LONSTEIN and WAYNE M.
25   LONSTEIN,
26
                        Defendants.
27

28
                                       -1-
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 2 of 31 Page ID #:856




 1         Plaintiff DONEYDA PEREZ (“Ms. Perez” or “Plaintiff”), on behalf of herself
 2   and all others similarly situated, complains and alleges as follows:
 3                               NATURE OF THE CASE
 4         1.     This is a putative class action brought on behalf of Plaintiff Doneyda
 5   Perez and all others similarly situated arising from the scheme to defraud and extort
 6   purported “settlements” from innocent consumers threatened with sham litigation
 7   resulting from entrapment (hereinafter the “Scheme”), perpetrated by Defendants
 8   DIRECTV GROUP HOLDINGS, LLC (“DirecTV”), LONSTEIN LAW OFFICES,
 9   P.C. (“LLO”), SIGNAL AUDITING, INC. (“Signal Auditing”),JULIE COHEN
10   LONSTEIN (“J. Lonstein”) and WAYNE M. LONSTEIN (“W. Lonstein”)
11   (hereinafter collectively referred to as “Defendants”).
12         2.     Defendants have, and continue to engage in, a Scheme and course of
13   conduct in which the owners of small businesses in the United States are the focus
14   of unsolicited sales campaigns from DirecTV, through its employees and
15   independent contractor salespeople and/or installers to sell satellite cable television
16   services. When a small business owner purchases DirecTV services, they are often
17   unwittingly provided with residential service accounts even when they specifically
18   request a commercial account or when the DirecTV representative solicits service in
19   their business location for their business. DirecTV and/or its agents do not provide
20   the business owners with any written contracts, agreements, notices, or other
21   documents regarding the type of satellite cable television services which they have
22   purchased, in part to hide the fraudulent nature of the Scheme.
23         3.     Despite DirecTV having been the subject of a nationwide investigation
24   into questionable marketing and sales tactics, resulting in a consent decree with 48
25   Attorneys General, these practices continue to this day.
26         4.     Small business owners like Plaintiff do not solicit, request or direct that
27   the satellite cable television services which they have purchased be provided under
28   a residential account; rather, they rely upon Defendant DirecTV and its authorized
                                        -2-
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 3 of 31 Page ID #:857




 1   agents to provide the satellite cable television services which they have purchased
 2   for their business under the proper type of commercial accounts.
 3         5.     Without the business owners being made aware, DirecTV designates
 4   the accounts as “residential,” despite the fact that DirecTV and/or its agents solicit
 5   small business owners like Ms. Perez, and those similarly situated in their business
 6   establishments, for business services.
 7         6.     DirecTV does no internal audits of these small business installations.
 8   To the contrary, DirecTV relies completely on the information obtained from its
 9   thousands of employees, agents, and independent contractor agents to set up the
10   DirecTV account. Despite the fact that order forms, customer agreements, and other
11   documents provided to the small business customer make no reference to the
12   residential nature of the account, DirecTV does nothing to verify that the customer
13   has received the requested account. Rather, without investigation, DirecTV
14   presumes that any small business customer with a residential account is illegally
15   stealing from DirecTV, an uses that improper assumption to engage in the Scheme
16   described herein.
17         7.     The Defendants’ Scheme is engendered by the Communications Act,
18   which provides for terrifyingly-high looking statutory damage awards and the
19   provision for an award of attorneys’ fees to the “aggrieved party” which can only be
20   the plaintiff, or in this case DirecTV, with no mutual provision for the innocent
21   defendant (business owner) who succeeds in defending him/herself. The
22   Communication Act is therefore rife for abuse by these and plaintiffs that rely on
23   similar schemes.
24         8.     Defendants perpetrate the Scheme using interstate wire and mails
25   threatening sham litigation as follows:
26                 a.     DirecTV and Lonstein Law Office (“LLO”) have a long-standing
27                        contingency model arrangement: DirecTV, LLO and Signal
28                        Auditing perpetuate the Scheme described herein and share in the
                                          -3-
                         SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 4 of 31 Page ID #:858




 1                      profits;
 2                b.    LLO created Signal Auditing solely for the purpose of funneling
 3                      audits to a captive entity that it could control, and from which it
 4                      could profit. Signal Auditing is owned, managed, and controlled
 5                      by J. Lonstein and W. Lonstein. It maintains no contractual
 6                      relationship with LLO and recognizes no corporate formalities
 7                      that distinguish it from LLO other than incorporation, which is a
 8                      minor formality. In all other respects it is a captive arm of LLO.
 9                      Its primary, if not only purpose, is to conduct audits related to
10                      this Scheme or schemes of a similar nature; and
11                c.    DirecTV installs the satellite cable television services and
12                      defines the account improperly as residential and not
13                      commercial.
14         9.     DirecTV provides to Scheme participants/agents Signal Auditing,
15   LLO, J. Lonstein, and/or W. Lonstein a list of authorized commercial establishments
16   (the “Legal List”) on a weekly, bi-weekly, or monthly basis. The Legal List is
17   updated by DirecTV and provided to Scheme participants Signal Auditing, LLC, J.
18   Lonstein, and/or W. Lonstein on a weekly, bi-weekly, or monthly basis. Scheme
19   participant/agent Signal Auditing, overseen by Scheme participant/agents LLO, J.
20   Lonstein, and/or W. Lonstein, employs contract “auditors/investigators” to gather
21   “evidence” of the purported commercial use of residential accounts. Signal
22   Auditing’s involvement in the Scheme is to provide these “auditors/investigators” to
23   Scheme participant/agents LLO, J. Lonstein, and W. Lonstein for purposes of
24   entrapping unsuspecting victims. Signal Auditing agents are directed and controlled
25   by LLO, J. Lonstein, and W. Lonstein.
26         10.    Scheme participants/agents Signal Auditing, LLO, J. Lonstein, and/or
27   W. Lonstein distribute the Legal List from DirecTV to their employee/agent
28   auditors/investigators, who are instructed not to surveille establishments or provide
                                        -4-
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 5 of 31 Page ID #:859




 1   audit reports regarding establishments on that list. Instead, they are told to locate
 2   small business establishments that are not on the Legal List, and provide an “auditor
 3   report” – a form that indicates “proof” of the alleged violation. Upon information
 4   and belief, Defendant members of the Scheme work in concert to target minority
 5   business districts where DirecTV installers have previously solicited.              This
 6   information is sought out by Defendant Signal Auditing by trolling minority-owned
 7   small business districts actively looking for “violations”. If the auditor/investigator
 8   locates a small business that is not on the Legal List but is displaying DirecTV
 9   programming, the Signal Auditing auditor/investigator clandestinely obtains
10   photographs and/or video recordings which purport to show that the business in
11   question is using residential satellite cable television services in a commercial
12   establishment. In some circumstances, Defendant Signal Auditing will enter a
13   business posing as a paying patron and ask to change the TV channel to find a
14   purported DirecTV program even if such programming is not currently being
15   broadcast at the time of the visit.
16         11.    The    auditor/investigator    then   provides    Signal    Auditing/LLO
17   “evidence” on a form affidavit drafted by Signal Auditing and/or LLO. Payment to
18   the auditor/investigator is made only if the auditor/investigator provides a “hit” – i.e.
19   their signature on the form affidavit indicating a “violation”. In other words, they
20   are not paid unless they find a purported violation.
21         12.    Scheme participants LLO, Signal Auditing, J. Lonstein, and/or W.
22   Lonstein then forward the auditor/investigator “hits” back to DirecTV so that
23   DirecTV can confirm that the hit represents an allegedly improper residential
24   account in a commercial establishment.
25         13.    Prior to AT&T owning DirecTV, i.e. at some of the time material
26   hereto, and at the time this Plaintiff was harmed, DirecTV did not pay for audit hits
27   unless there were proceeds for the Scheme participants to share. Said another way,
28   Signal Auditing did not invoice DirecTV for auditor/investigator hits. Instead, the
                                         -5-
                        SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 6 of 31 Page ID #:860




 1   cost of those hits was deducted by LLO from the proceeds of the Enterprise.
 2          14.    If there are no Scheme proceeds, prior to the AT&T takeover of
 3   DirecTV, Scheme participants/agents LLO, Signal Auditing, J. Lonstein, and W.
 4   Lonstein had to absorb the cost of any hit that did not result in Scheme proceeds.
 5   After the takeover by AT&T of DirecTV, and after this action was filed, upon
 6   information and belief, Signal Auditing “invoices” DirecTV for all hits, likely to
 7   provide the Scheme some appearance of legitimacy.
 8          15.    DirecTV then authorizes LLO to open a new file and begin extortion
 9   efforts.
10          16.    LLO does nothing independently to verify whether DirecTV records
11   are correct, whether the account was directly solicited by DirecTV, and the only due
12   diligence done prior to initiating Scheme extortion efforts is to verify that LLO is
13   contacting the appropriate individuals/owners of the business.
14          17.    LLO then launches a campaign of emails, telephone calls and
15   threatening, intentionally vague, and exaggerated demand letters to innocent small
16   business owner consumers threatening an action against them for violating the
17   federal Communications Act of 1934.1 These business owners are told they have
18   “defrauded” DirecTV, “owe” DirecTV tens of thousands of dollars; they are misled
19   about the strict liability, intent and knowledge components of the statute, and are
20   threatened with ruined credit and lawsuits. LLO’s only reason for not pursuing a
21   small business owner consumer is if they learn the consumer is in bankruptcy or
22   unable to pay, or if the consumer threatens legal action (i.e. counterclaims or class
23   action claims).
24

25   1
       J. Lonstein referred to these demand letters in a 2018 deposition as “claim letters,” that
26   “invite the presumed pirate to please contact us to discuss the facts and circumstances of
     this allegation of commercial misuse.” J. Lonstein also testified at that same deposition that
27   any consumer who suggested they had requested a commercial account but been provided
28   a residential account would be referred back to DirecTV for “investigation,” but could
     provide no details regarding what, if any investigation ever takes place.
                                         -6-
                        SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 7 of 31 Page ID #:861




 1          18.    Defendants’ threatened legal actions are a sham because: (1) DirecTV
 2   installed the residential services at a business and knows the programming is being
 3   shown at the business; (2) Despite knowing this; Signal Auditing, LLO, and the
 4   Lonsteins make misrepresentations of fact and law in their threatening
 5   communication with these victims; and (3) LLO and the Lonsteins have no intention
 6   of actually filing litigation, but will threaten to do so for tactical purposes, to instill
 7   fear and increase the Scheme proceeds.
 8          19.    The only purpose of LLO and Lonsteins’ calls and demand letters is to
 9   frighten innocent small business owners into paying settlement demands that are
10   made solely for the purpose of extorting a sum of money the innocent victim will
11   believe is a better outcome than having to defend the litigation or repair their credit;
12          20.    The demand letters, emails and telephone calls start with outrageous
13   monetary demands for alleged “damages” and attorney’s fees, usually between
14   $25,000.00 - $100,000.00.
15          21.    After LLO has sufficiently terrified the small business owners, LLO
16   offers the consumer a “choice:” (1) pay a lump sum of money (usually between
17   $10,000.00 - $20,000.00) or (2) pay a lower lump sum (usually between $5,000 -
18   $10,000.00) and sign up for a lengthy commitment as a DirecTV commercial
19   customer for a higher monthly cost2;
20          22.    In the rare case that a lawsuit is actually filed against those business
21   owners who refuse to pay, that litigation is a sham because the claim is based on the
22   known false premise the small business owner has had unauthorized access to
23   DirecTV services, among other false misrepresentations of fact and law as identified
24
     2
25     By requiring a lengthy term contract, DirecTV avoids many of the loopholes that
     both residential and commercial consumers use – agreeing to “promotional”
26
     packages and then cancelling as soon as the promotion expires. Further, it allows
27   DirecTV to increase its profits by turning lower residential rate accounts into longer
28
     term higher rate business accounts which the customer may have declined originally
     if the higher rates were disclosed.
                                        -7-
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 8 of 31 Page ID #:862




 1   herein, when it is DirecTV who set up the customer for the threatened litigation by
 2   purposely misleading the consumer and installing residential services in a
 3   commercial establishment under false pretenses.         Further, the account origin
 4   (business or residential solicitation) is easily identifiable by DirecTV, LLO and
 5   Signal Auditing (through LLO and/or DirecTV).
 6          23.   Utilization of Defendant Signal Auditing allows the enterprise to
 7   function more effectively given that “audits” would typically be performed by an
 8   uninterested third party with no financial stake in the discovery of an alleged pirated
 9   signal. Defendant Signal Auditing advertises to those who use its service a 4-step
10   process to complete the audit which includes: Identifying the offender, allowing the
11   offender to pay a fee (through LLO and Lonstein), covert the offender to a
12   subscribing “good faith” customer (converting to a DirectTV commercial account),
13   and prosecuting nonpaying “offenders”.3 This outline actually describes the Scheme
14   in part and shows how all of the Defendants are intertwined and crucial to
15   perpetuating the Scheme.
16          24.   Defendants do not confine themselves to minority small business
17   owners, however, they target minority small business owners with the belief that
18   such owners are less likely to dispute or challenge the allegations because they are
19   unable by virtue of smaller profit margins to mount a vigorous defense or seek
20   immediate legal counsel.
21          25.   Thus, in addition to the monthly fees already paid by the small
22   businesses for the satellite cable television services, Defendants have obtained
23   thousands, if not millions of dollars in Scheme proceeds paid to Defendants as
24   “settlements,” by the small business owners who have been their victims and
25   DirecTV has gained millions of dollars in additional commercial accounts
26   improperly obtained by fraud.
27

28   3   http://www.signalauditing.com/piracy-solutions
                                                    -8-
                          SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 9 of 31 Page ID #:863




 1         26.    Due to their course of conduct, Defendants have violated the Racketeer
 2   Influenced and Corrupt Organizations Act (“RICO”).
 3         27.    Ms. Perez therefore seeks monetary damages under RICO, on behalf of
 4   herself, and all others similarly situated within the United States.
 5                                      THE PARTIES
 6         28.    Plaintiff Doneyda Perez (“Plaintiff”) is an individual residing in
 7   Anaheim, California. Ms. Perez is the sole owner of Oneida’s Beauty and Barber
 8   Salon, a beauty salon located at 12342 Harbor Boulevard, Garden Grove, California
 9   92840.
10         29.    Defendant DirecTV Group Holdings, LLC (“DirecTV”), is a limited
11   liability company organized under the laws of the State of Delaware, which operates
12   nationwide and maintains its principal executive offices in El Segundo, California.
13   At all times relevant hereto, Defendant DirecTV was and is engaged in the business
14   of acquiring, promoting, selling, and distributing digital entertainment (i.e.,
15   broadcast and premium television programming), primarily through satellite
16   transmission to residential and commercial subscribers.
17         30.    Defendant Lonstein Law Office, P.C. (“Defendant LLO”), is a
18   professional corporation organized under the laws of the State of New York. At all
19   times relevant hereto, the Lonstein Law Office, P.C. was, and is, a law firm retained
20   by DirecTV to, inter alia, prosecute alleged thefts by small businesses in California
21   of the satellite cable television services of DirecTV. Julie Cohen Lonstein and
22   Wayne Lonstein are the named partners of LLO.
23         31.    Defendant Julie Cohen Lonstein (“Defendant J. Lonstein”), is an
24   individual who is licensed to practice law in the State of New York, and is a partner
25   with the Lonstein Law Office, P.C. At all times relevant hereto, Defendant Lonstein
26   is, and was, lead counsel for Defendant Signal Auditing and listed as “co-inventor”
27   on the patent application Defendant Signal Auditing has filed relating to its allegedly
28   proprietary methods of detecting signal piracy.
                                        -9-
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 10 of 31 Page ID #:864




 1         32.    Defendant Signal Auditing, Inc. (“Signal Auditing”), is a corporation
 2   organized under the laws of the State of New York and maintains its principal place
 3   of business in Ellenville, New York. The address listed for Defendant Signal
 4   Auditing, Inc. is the same address as Defendant Lonstein Law Office. At all times
 5   relevant hereto, Signal Auditing was and is engaged in the business of nationwide
 6   auditing of commercial and residential piracy of telecommunication subscribers, as
 7   overseen by Defendant Lonstein.
 8         33.    Defendant Wayne Lonstein (“Defendant W. Lonstein”), is an
 9   individual who is licensed to practice law in the State of New Jersey, Pennsylvania,
10   and Massachusetts. At all times relevant hereto, Defendant W. Lonstein is, and was,
11   lead counsel for Defendant Signal Auditing and listed as “co-inventor” on the patent
12   application Defendant Signal Auditing has filed relating to its allegedly proprietary
13   methods of detecting signal piracy.
14                            JURISDICTION AND VENUE
15         34.    This action arises under the laws of the United States. This Court has
16   original jurisdiction over the subject matter of this action pursuant to both U.S.C. §
17   1964, which entitles the Court to hear claims brought under 18 U.S.C. § 1962, and
18   also pursuant to 28 U.S.C. § 1331, which gives the court jurisdiction over actions
19   that arise under the laws of the United States.
20         35.    This Court has personal jurisdiction over Defendants because they have
21   significant minimum contacts with this State, and intentionally availed themselves
22   of the laws of California by transacting a substantial amount of business throughout
23   the State and this District, including, but not limited to, the promotion, marketing,
24   advertising, and sale of cable television services by DirecTV throughout the Central
25   District of California, Southern Division.
26         36.    Venue is proper in this Court under 28 U.S.C. § 1391(b). Plaintiff
27   resides in the Central District of California, Southern Division, and Defendants are
28   located in, and do business in, the Central District of California, Southern Division.
                                       - 10 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 11 of 31 Page ID #:865




 1   All of the events that are the subject of this Complaint took place in the Central
 2   District of California, Southern Division.
 3                          RICO FACTUAL ALLEGATIONS
 4         37.    DirecTV maintained authorized sales representatives throughout the
 5   United States instructed by DirecTV to solicit small businesses and install DirecTV
 6   equipment and services.
 7         38.    Defendant Signal Auditing conducts audits nationwide on behalf of
 8   DirecTV and/or LLO, J. Lonstein and W. Lonstein. J. Lonstein and W. Lonstein act
 9   as corporate counsel for Defendant Signal Auditing.
10         39.    At all times relevant hereto, Defendants J. Lonstein, W. Lonstein,
11   Signal Auditing, and LLO acted for, or on behalf of, DirecTV in undertaking the
12   acts and/or omissions alleged herein.
13         40.    The “Scheme” begins with DirectTV representatives targeting and
14   soliciting small, primarily minority-owned businesses to purchase DirectTV satellite
15   cable services at a “special rate” to broadcast in their commercial establishment.
16   After the business owner agrees to purchase DirectTV services, the equipment is
17   immediately installed at their place of business. DirectTV then internally designates
18   the account as “residential.” DirecTV then provided to Scheme participants Signal
19   Auditing and/or LLO of a “Legal List” of DirecTV customers who should not be
20   targeted for investigation.
21         41.    Based on the “Legal List” and at the direction of Scheme participants
22   DirecTV, LLO and Signal Auditing, Signal Auditing auditors/investigators are
23   directed to audit minority small business districts where DirecTV installers
24   previously solicited DirecTV services.
25         42.    If an auditor/investigator is successful in locating a “hit”, LLO and/or
26   Signal Auditing provide the auditor/investigator affidavit to DirecTV.        Signal
27   Auditing transmits the “Site Inspection” or “hit” to LLO. The “hit” is directed back
28   to DirecTV so that DirecTV can confirm its records list the account as “residential”.
                                       - 11 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 12 of 31 Page ID #:866




 1          43.   Scheme participants LLO and Lonstein, initiate telephone calls and
 2   letters sent through email, the U.S. Mail and Wire to threaten these small business
 3   owners with credit reporting, “owed” debts, and sham litigation unless they pay
 4   outrageous sums of money.
 5          44.   Through LLO and Lonstein, business owners are offered two choices:
 6   (1) pay a high flat rate ($25,000-$100,000 or more) and be “done with the matter”,
 7   or; (2) pay an amount a lesser flat amount and sign up for an extended contract for
 8   DirectTV commercial account paying a higher monthly rate on a continuous basis.
 9   When a small business owner refuses to choose, Defendants Lonstein and LLO
10   lower the amount and continue the barrage of calls until the small business owner
11   relents.
12          45.   Plaintiff is informed and believes LLO and Lonstein rarely, if ever,
13   follow through with actual litigation because the threat of litigation is a sham to
14   secure payment from the business owners and additional commercial accounts for
15   DirecTV.
16          46.   Those customers who did/do pay were/are required to sign an
17   agreement to transmit electronically (wire), either directly through an online
18   payment service, or a direct debit from their bank account to Defendant LLO. This
19   Scheme is premised on fraudulent misrepresentations of fact by Defendant DirectTV
20   to the business owner that they are signing up for an account for their business which
21   DirectTV later contends is categorized by it as a residential account unbeknownst to
22   the business owner. The Scheme continues with Defendant Signal Auditing’s
23   “audit” of the business and the “determination” that the business is unlawfully
24   broadcasting DirectTV programming in a commercial establishment. That
25   information is then passed onto DirectTV, LLO, and Lonstein.
26          47.   Finally, LLO and Lonstein, on behalf of DirectTV, make repeated
27   factual and legal misrepresentations to the business owners in telephone calls and
28   letters sent via U.S. Mail, falsely claiming that the business owners/victims have
                                      - 12 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 13 of 31 Page ID #:867




 1   violated “state and federal law” and “owe” DirecTV and LLO money.
 2         48.    The Scheme provides lucrative proceeds for the Scheme Defendants.
 3   The result of the activities of the Scheme provides substantial additional money
 4   and/or increased revenue for Scheme Defendant DirecTV from accounts converted
 5   to commercial at commercial rates; thousands, if not millions, of dollars in
 6   “settlement” amounts; fees paid to Defendant Signal Auditing for “discovering” the
 7   “piracy;” and substantial legal fees for Defendants J. Lonstein, W. Lonstein, and
 8   LLO in the form of their “cut” (40%) of the “settlement” amounts.
 9         49.    This conduct occurred consistently throughout the United States from
10   at least four years preceding the filing of the initial complaint in this matter and
11   continues to the present. Complaints by business owners from around the country
12   establish the continuous nature of the enterprise. Plaintiff is informed and believes
13   the Lonstein Defendants and DirectTV have collected millions of dollars from this
14   Scheme. In 2015, Defendants LLO and Lonstein admitted via declaration, submitted
15   by Julie Cohen Lonstein, that she, Defendant W. Lonstein, and their firm sent over
16   400 letters similar to the letters sent to Plaintiff in this case in New Jersey alone
17   during a six-year period to DirectTV subscribers similarly situated to Plaintiff.
18   Therefore, the Scheme has been continuous and perpetuated by Defendants for many
19   years and Plaintiff is informed and believes it is continuing to date.
20         50.    Defendants were knowingly and willing participants in the Scheme, and
21   reaped revenues and/or profits therefrom.
22         51.    Defendants knowingly, willfully, and unlawfully conducted or
23   participated, directly or indirectly, in a pattern of racketeering activity within the
24   meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c). Specifically, Defendants
25   acting collectively engaged in activity constituting a violation of 18 U.S.C. §§1341
26   (mail fraud) and 1343 (wire fraud), the predicate acts. The racketeering activity was
27   made possible by the regular and repeated use of the services and distribution
28   channels of Defendant DirecTV, the auditing services of Defendants Signal Auditing
                                       - 13 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 14 of 31 Page ID #:868




 1   and W. Lonstein and the legal services of Defendants Lonstein and LLO.
 2         52.    Defendants DirectTV, Lonstein, W. Lonstein, Signal Auditing, and
 3   LLO committed multiple “Racketeering Acts,” as described herein, including aiding
 4   and abetting such acts.
 5         53.    The Racketeering Acts were not isolated, but rather were related in that
 6   they had the same or similar purposes and results, participants, victims, and methods
 7   of commission.
 8         54.    In devising and executing the Scheme, Defendants committed acts
 9   constituting indictable offenses under 18 U.S.C. §§ 1341 and 1343, in that they
10   devised and knowingly carried out a material scheme or artifice to defraud or to
11   obtain money by means of materially false or fraudulent pretenses, representations,
12   promises, or omissions of material facts. For the purpose of executing the Scheme,
13   Defendants committed these Racketeering Acts, intentionally and knowingly, with
14   the specific intent to advance the Scheme.
15         55.    Other methods and means that Defendant DirectTV used to execute and
16   perpetrate the Scheme include, but are not limited to, providing subscriber
17   information that they know or should know may contain significant errors to
18   Defendants LLO, Lonstein, W. Lonstein, and/or Signal Auditing for the purpose of
19   initiating an audit of targeted subscribers; utilizing agents to solicit small businesses
20   for DirectTV services who misrepresent that the small business subscribers are
21   obtaining a commercial account when they are designated by DirectTV as
22   “residential subscribers;” and receiving collected funds electronically from
23   Defendants Lonstein and/or LLO. Defendant DirectTV utilizes the other Defendants
24   to form the “enterprise” acting together in pursuit of the common goal of obtaining
25   hundreds of thousands, if not millions, of dollars from unsuspecting small business
26   owners under the misrepresentation that they are illegally broadcasting the DirectTV
27   signal in their business when it was DirectTV that solicited and set up the account at
28   the business location, knowing it was a business location and then classifying the
                                       - 14 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 15 of 31 Page ID #:869




 1   account as “residential,” a practice that is, at its essence, entrapment.
 2         56.    Other methods and means that Defendant J. Lonstein, W. Lonstein, and
 3   LLO used to execute and perpetuate the Scheme include, but are not limited to,
 4   utilizing their name and law firm to seek to obtain money from small business
 5   owners accusing them of illegally broadcasting the DirectTV signal in their business;
 6   sending threatening and misleading        form demand letters through the mail to
 7   thousands, if not hundreds of thousands, of DirectTV subscribers; use of Defendant
 8   J. Lonstein and W. Lonstein’s allegedly patented technology and interest in
 9   Defendant Signal Auditing to target small business to accuse of piracy; and receiving
10   funds electronically from DirectTV subscribers’ bank accounts to collect Scheme
11   proceeds. The participation of Defendants LLO, J. Lonstein, and W. Lonstein permit
12   Defendant DirectTV to facilitate the collection of monies by threatening, or in very
13   rare cases, actually initiating legal proceedings against these small business owner
14   consumers.
15         57.    Other methods and means that Defendants Signal Auditing, J. Lonstein,
16   and W. Lonstein used to execute and perpetuate the Scheme include, but are not
17   limited to, use of Defendant W. Lonstein’s allegedly “patented technology” and
18   interest in Defendant Signal Auditing to target small business to accuse of piracy,
19   and use of Defendant Signal Auditing to obtain monies from Defendant DirectTV in
20   the accusation of subscriber piracy. The participation of Defendants Signal Auditing
21   and W. Lonstein allow the enterprise to function more effectively given that “audits”
22   would typically be performed by an uninterested third party with no financial stake
23   in the discovery of an alleged pirated signal. Defendant Signal Auditing’s process
24   is not a patentable process. Indeed, Signal Auditing advertises to those who use its
25   service, a 4-step process to complete the audit which includes: Identifying the
26   offender, allowing the offender to pay a fee (through LLO and Lonstein), covert the
27   offender to a subscribing “good faith” customer (converting to a DirectTV
28
                                       - 15 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 16 of 31 Page ID #:870




 1   commercial account), and prosecuting nonpaying “offenders.”4 This outline actually
 2   describes the Scheme and shows how all of the Defendants are intertwined and
 3   crucial to perpetuating the Scheme.
 4          58.   Defendants used thousands of mail and interstate wire transactions to
 5   create and perpetuate the Scheme through virtually identical misrepresentations,
 6   concealments and material omissions.
 7                                CLASS ALLEGATIONS
 8          59.   This action is brought and may properly proceed as a class action,
 9   pursuant to the provisions of Federal Rules of Civil Procedure, Rule 23.
10          60.   Plaintiff seeks certification of a Class and Subclasses pursuant to
11   Federal Rules of Civil Procedure 23, which is composed of and defined as follows:
12

13
            a.    CLASS: All business owners in the United States who, at any time on
                  or after the day four years prior to the date on which this Complaint is
14                filed, were solicited by Defendants, jointly and/or severally, to purchase
15                satellite cable television services provided by DirecTV for use in
                  connection with their business and who: (a) purchased such satellite
16                cable television services and (b) were subsequently sent
17                correspondence from Defendants LLO, W. Lonstein, and/or J. Lonstein
                  on behalf of DirectTV seeking monetary payment for allegedly
18                unauthorized use by the business of those satellite cable television
19                services.

20          b.    SUBCLASS: All small business owners in the State of California who,
21                at any time on or after the day four years prior to the date on which this
                  complaint is filed, were solicited by Defendants, jointly and/or
22                severally, to purchase satellite cable television services provided by
23                DirecTV for use in connection with their business and who: (a)
                  purchased such satellite cable television services and (b) were
24                subsequently sent correspondence from Defendants LLO, W. Lonstein
25                and/or J. Lonstein on behalf of DirectTV seeking monetary payment
                  for allegedly unauthorized use by the business of those satellite cable
26                television services.
27

28   4   http://www.signalauditing.com/piracy-solutions
                                                   - 16 -
                          SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 17 of 31 Page ID #:871




 1         61.     The members of the Class for whose benefit this action is brought are
 2   so numerous that joinder of all members is impracticable.
 3         62.     There are questions of law and fact common to the members of the
 4   Class and Subclasses that predominate over questions affecting only individuals.
 5   These common questions include:
 6                 a.   Whether Defendants were employed by or associated with the
 7                      enterprise, participated, directly or indirectly, in the operation
 8                      and/or management of the enterprise’s affairs through a pattern of
 9                      racketeering activity;
10                 b.   Whether Defendants devised a scheme to defraud, entrap, and/or
11                      extort;
12                 c.   Whether the Defendants’ scheme was furthered by the use of mail
13                      or wire;
14                 d.   Whether Plaintiff and the members of the Class and/or Subclasses
15                      suffered damages as a result of Defendants’ violation(s) of RICO;
16                      and
17                 e.   What relief Plaintiff and the members of the Class and/or
18                      Subclasses are entitled to under the UCL and RICO.
19         63.     Plaintiff’s claims are typical of the claims of the members of the Class
20   which she represents because all such claims arise out of the same policies, practices,
21   and conduct, and the same or similar documents used by Defendants in their dealings
22   with Plaintiff.
23         64.     Plaintiff has no interests antagonistic to those of the Class and
24   Subclasses.
25         65.     The Class, of which Plaintiff is a member, are readily identifiable.
26         66.     Plaintiff will fairly and adequately protect the interests of the Class and
27   has retained competent counsel experienced in the prosecution of consumer
28   litigation. Proposed Class counsel has investigated and identified potential claims in
                                        - 17 -
                        SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 18 of 31 Page ID #:872




 1   the action. Proposed Class counsel has a great deal of experience in handling class
 2   actions, other complex litigation, and claims of the type asserted in this action.
 3          67.    A class action is superior to other available methods for the fair and
 4   efficient adjudication of this controversy since joinder of all members is
 5   impracticable. While the economic damages suffered by the individual members of
 6   the Class are significant, the amount is modest compared to the expense and burden
 7   of individual litigation.
 8          68.    The questions of law or fact common to the members of the Class
 9   predominate over any questions affecting only individual members.
10          69.    The prosecution of separate actions by individual members of the Class
11   would run the risk of inconsistent or varying adjudications, which would establish
12   incompatible standards of conduct for the Defendants in this action, or the
13   prosecution of separate actions by individual members of the Class and Subclasses
14   would create the risk that adjudications with respect to individual members of the
15   Class and Subclasses would as a practical matter be dispositive of the interests of the
16   other members not parties to the adjudications, or substantially impair or impede
17   their ability to protect their interests. Prosecution as a class action will eliminate the
18   possibility of repetitious litigation.
19          70.    Defendants have acted, or refused to act, on grounds generally
20   applicable to Plaintiff and all class members, thereby making appropriate final
21   injunctive relief or corresponding declaratory relief with respect to the Classes a
22   whole.
23          71.    A class action will cause an orderly and expeditious administration of
24   the claims of the Class and Subclasses, and will foster economies of time, effort and
25   expense.
26          72.    Plaintiff does not anticipate any difficulty in the management of this
27   litigation.
28
                                        - 18 -
                        SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 19 of 31 Page ID #:873




 1          FACTUAL ALLEGATIONS: PLAINTIFF DONEYDA PEREZ
 2         73.    Plaintiff Doneyda Perez (“Ms. Perez”), is the owner of Oneida’s Beauty
 3   and Barber Salon, a beauty salon located at 12342 Harbor Boulevard, Garden Grove,
 4   California 92840.
 5         74.    In or around 2014, DirecTV’s authorized representative entered the
 6   beauty salon and spoke with Ms. Perez. The individual represented that he was
 7   acting on behalf of DirecTV and told Ms. Perez that DirecTV was offering a
 8   promotional deal which would provide her business with satellite cable television
 9   services for twenty-seven dollars and fifty cents ($27.50) a month for two (2) years.
10         75.    All communications with the DirecTV representative were in Spanish.
11         76.    As a result of DirecTV’s representation, Ms. Perez was interested in
12   purchasing the DirecTV promotional deal – which included Spanish-language
13   channels – for her business because she wanted something for her customers to
14   watch on television while they were in the beauty salon. Ms. Perez thought that the
15   deal offered by DirecTV was a good one, and therefore agreed to purchase the
16   DirecTV promotional deal to provide her business with satellite cable television
17   services from DirecTV for twenty-seven dollars and fifty cents ($27.50) a month for
18   two (2) years.
19         77.    DirecTV never advised Ms. Perez that the satellite cable television
20   services from DirecTV would be provided to her business under a residential
21   account; nor did Ms. Perez ever ask that the satellite cable television services from
22   DirecTV be provided to her business under a residential account. Instead, based
23   solely upon the representations from Defendants and the fact that those discussions
24   had taken place inside the beauty salon, Ms. Perez relied upon DirecTV to provide
25   her business with satellite cable television services from DirecTV under the correct
26   type of account. Ms. Perez relied upon DirecTV to provide her business with satellite
27   cable television services from DirecTV under the correct type of account. This
28   reliance is what induced Ms. Perez to provide Defendants with her personal
                                      - 19 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 20 of 31 Page ID #:874




 1   information and bank information.
 2         78.     Ms. Perez was not provided with – nor did she sign – a contract,
 3   agreement, notice or any other document related to the DirecTV promotional deal,
 4   either at the time of installation or at any time thereafter. Ms. Perez never signed a
 5   contract of any kind to provide her business with satellite cable television from
 6   DirecTV for twenty-seven dollars and fifty cents ($27.50) a month for two (2) years,
 7   at the time she agreed to purchase the DirecTV promotional deal. Ms. Perez was
 8   only asked to provide her personal information and her bank account information to
 9   Defendants.
10         79.     Ms. Perez was never advised that the satellite cable television services
11   from DirecTV would be provided to her business under a residential account.
12   Similarly, Ms. Perez never attempted to solicit, request, or direct that the satellite
13   cable television services from DirecTV be provided to her business under a
14   residential account. Based upon the representations of DirecTV and the fact the
15   physical installation was inside the beauty salon, Ms. Perez relied upon DirecTV
16   Defendants to provide her business with satellite cable television services from
17   DirecTV under the correct type of account. Thereafter, the only documents related
18   to the DirecTV promotional deal which Ms. Perez ever received were an Equipment
19   Lease Agreement in English and the monthly invoices from DirecTV, which were
20   sent to “2127 West Dogwood Avenue, Anaheim, California 92801.” The monthly
21   invoices did not state whether the account was commercial or residential. (See, e.g.,
22   the copy of the June 6, 2014, invoice from DirecTV attached hereto as Exhibit A.)
23         80.     DirecTV’s authorized representative, with whom Ms. Perez spoke, did
24   not advise her that the satellite cable television services from DirecTV would be (or
25   had been) provided to her business under a residential account; nor did Ms. Perez
26   ever ask that the satellite cable television services from DirecTV be provided to her
27   business under a residential account. Instead, based upon the fact that DirecTV had
28   provided satellite cable television services to the salon for nearly two years, Ms.
                                       - 20 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 21 of 31 Page ID #:875




 1   Perez continued to rely upon DirecTV to provide her business with satellite cable
 2   television services from DirecTV under the correct type of account.
 3         81.   It was, therefore, much to Ms. Perez’s surprise that she received a phone
 4   call in May 2015 from LLO, advising her they had been retained by DirecTV
 5   “regarding the unauthorized reception and commercial display of DIRECTV
 6   programming at your establishment in violation of the Federal Communications Act
 7   and DIRECTV customer agreements.” Defendant LLO accused Ms. Perez of
 8   “defrauding” and making “misrepresentations” to DIRECTV. During the May 2015
 9   phone call with Ms. Perez, LLO alleged that on April 8, 2015, an “independent
10   auditor” had “observed and recorded your exhibition of DIRECTV programming”
11   without authorization, and threatened prosecution and/or litigation if Ms. Perez did
12   not contact the Lonstein Defendants within seven (7) days to resolve the matter. Ms.
13   Perez was informed that “they” were going to sue her for $75,000.00 for the
14   unauthorized use of DIRECTV services.
15         82.   Ms. Perez tried to explain that the DirecTV representative that she was
16   told she sought out from DirecTV services but that their representative came to her
17   business soliciting a new commercial account and installed it the same day. The
18   LLO representative continued to accuse Ms. Perez of misrepresentation.
19         83.   Over the next month, almost on a daily basis, Ms. Perez received
20   numerous telephone calls from a representative of Defendant LLO. The individual
21   always identified herself as DirecTV’s attorney and threatened that if Ms. Perez did
22   not pay $75,000.00, they would report her to collections and ruin her credit. Ms.
23   Perez took this to mean they were claiming she owed a debt to DirecTV. Ms. Perez
24   continued to protest her innocence and maintain she did not owe them $75,000.00.
25   LLO disregarded Ms. Perez’s claims and repeated the accusations over and over.
26         84.   After several calls, LLO lowered the demand to $50,000.00. Ms. Perez
27   again refused to pay. The LLO representative was adamant, growing angrier with
28   each call and becoming increasingly more threatening. Ms. Perez was sent through
                                      - 21 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 22 of 31 Page ID #:876




 1   the mail, a photograph, which Defendants LLO claim was “proof” Ms. Perez was
 2   misappropriating DirecTV programming at her beauty salon. The photo was a
 3   grainy, still photo of a television screen with unrecognizable content.
 4         85.    After over a month of nearly daily phone calls and threats, LLO told
 5   Ms. Perez if she paid $5,000.00 in installments, they would not take any further
 6   action. Ms. Perez was told this was the last and final “offer.”
 7         86.    Ms. Perez received a letter, dated June 26, 2015, (the “June 26, 2015,
 8   letter”) on the letterhead of the Lonstein Law Office, P.C., with an attached proposed
 9   settlement agreement. In the proposed settlement agreement, LLO alleged that Ms.
10   Perez’s business had used the satellite cable television services of DirecTV without
11   authorization and threatened prosecution and/or litigation if Ms. Perez did not pay
12   $5,000.00. (See copy of the June 26, 2015, letter and proposed settlement agreement
13   attached hereto as Exhibit B.)
14         87.    As a result of being misled and fraudulently induced into agreeing to
15   pay $5,000.00 in order to resolve her alleged outstanding balance with DirecTV, Ms.
16   Perez began making monthly payments of $500.00 to LLO via wire transaction. It is
17   unclear what percentage of this amount was paid to DirecTV. (See July 2, 2015,
18   credit card receipt; August 7, 2015, letter; August 7, 2015, credit card receipt;
19   American Express Authorization Form; and June 1, 2016, statement attached hereto
20   as Exhibit C.) This agreement is voidable and unenforceable.
21         88.    The above-described conduct by Defendants in their transactions with
22   Ms. Perez are the same and/or substantially similar to the course of conduct engaged
23   in by Defendants in their transactions with numerous other small business owners in
24   California who are similarly situated to Ms. Perez.
25         89.    Plaintiff is informed and believes that other minority business owners
26   across the United States have been victims of the Scheme. In Florida, on or around
27   June 2018, a Signal Auditing auditor/investigator signed a sworn affidavit claiming
28   to have observed the 2018 Stanley Cup Final on the restaurant Novecento’s
                                      - 22 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 23 of 31 Page ID #:877




 1   televisions. This affidavit is a sham and is false because the Stanley Cup Finals were
 2   not held on June 5, 2018.
 3         90.    A small bar in Nashville, Tennessee was targeted by Signal Auditing in
 4   September 2018 whereby the auditor/investigator admits to changing the channel
 5   and viewing a purported DirecTV channel even though DirecTV programming was
 6   not being broadcast in the commercial establishment upon arrival. This form of
 7   entrapment is not isolated.
 8         91.    These and other examples demonstrate the Scheme has continued and
 9   is remains pervasive and will continue.
10                                         COUNT I
11                (Racketeer Influenced and Corrupt Organizations Act)
12         92.    Plaintiff re-asserts and incorporates by reference each and every
13   allegation set forth in the preceding paragraphs as though set forth at length herein.
14         93.    RICO further provides that, “[i]t shall be unlawful for any person
15   employed by or associated with any enterprise engaged in, or the activities of which
16   affect, interstate or foreign commerce, to conduct or participate, directly or
17   indirectly, in the conduct of such enterprises affairs through a pattern of racketeering
18   activity or collection of unlawful debt.” (18 U.S.C. § 1962(c).)
19         94.    RICO also provides that “It shall be unlawful for any person to conspire
20   to violate any of the provisions of subsection (a), (b), or (c) of this section.” (18
21   U.S.C. § 1962(d).)
22         95.    At all relevant times, Defendants were natural persons and corporate
23   entities, and are therefore “persons” within the meaning of 18 U.S.C. § 1961(3).
24         96.    Upon information and belief, Lonstein Law Office and the natural
25   persons employed thereby (Julie Lonstein and Wayne Lonstein); Signal Auditing
26   and DirecTV comprise of three distinct groups of persons that together form an
27   enterprise within the meaning of 18 U.S.C. § 1961(4). Each and every natural person
28   and/or corporate entity is associated with the enterprise.
                                       - 23 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 24 of 31 Page ID #:878




 1         97.    Upon information and belief, each group of defendants, the Lonstein
 2   Law Office and the nature persons employed thereby (Julie Lonstein and Wayne
 3   Lonstein); Signal Auditing and DirecTV also qualify as separate and distinct
 4   enterprises within the meaning of 18 U.S.C. § 1961(4). Each and every Lonstein
 5   defendant is employed by or associated with the Lonstein Law Office enterprise;
 6   each Signal Auditing defendant is employed by or associated with the Signal
 7   Auditing enterprise; and each DirecTV defendant is employed by or associate with
 8   the DirecTV enterprise.
 9         98.    Collectively, upon information and belief, the individuals and entities
10   that constitute the Lonstein Defendants, the Signal Auditing Defendants and the
11   DirecTV Defendants constitute an association-in-fact within the meaning of 18
12   U.S.C. ¶ 1961(4).
13         99.    As set forth herein above the purpose of the enterprise/enterprises (the
14   “Enterprise”) is to defraud and extort purported “settlements” and increase
15   DirecTV’s commercial accounts from innocent consumers threatened with sham
16   litigation resulting from entrapment and/or false claims of a debt owed. This is
17   accomplished by the Defendants by targeting small businesses for unsolicited sales
18   campaigns and wrongfully providing them residential service in commercial
19   establishments known to be commercial establishments at the time of the sale; the
20   Signal Auditing Defendants engaging in surreptitious “investigation” of these
21   businesses at the direction of the Lonstein and DirecTV Defendants; and the
22   Lonstein Defendants engage in threatening communications intended to scare these
23   small business consumer victims into paying “settlements” and agreeing to lengthy
24   commercial contracts with the threat of sham litigation involving allegations of
25   violations of the Communications Act of 1934 claiming Plaintiff and Plaintiff Class
26   engaged in the theft of DirecTV programming. The enterprise was formed for the
27   purpose     of   extorting   settlement   money    from    unsuspecting     business
28   owners/consumers, increasing through fraud DirecTV’s business accounts for which
                                       - 24 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 25 of 31 Page ID #:879




 1   it charges higher rates and enriching all Defendants. The Scheme sets up business
 2   owners/consumers to be later accused and threatened with prosecution for violations
 3   of the Communications Act, 29 U.S.C. § 605 based on Defendants’ false accusations
 4   of theft of DirecTV services levied against the small business owners accusing them
 5   of broadcasting residential DirecTV programming in a commercial establishment.
 6         100. The Enterprise has been in engaged in, and continues to be in engaged
 7   in, activities that affect interstate commerce. Defendants’ unlawful Enterprise in
 8   violation of RICO has been and remains longstanding, continuous, and open-ended.
 9         101. Defendants, individually and collectively, as an Enterprise, have
10   engaged, directly or indirectly, in a pattern of racketeering activity and have,
11   therefore, violated 18 U.S.C. § 1962(c).
12         102. Defendants’ Extortion Scheme includes, but is not limited to:
13               a.     Mail Fraud: Defendants violated 18 U.S.C. § 1341, by sending
14                      or receiving or causing to be sent or received, materials via email,
15                      U.S. mail or commercial interstate carriers for the purpose of
16                      executing the Scheme, which amounts to a material scheme to
17                      defraud and obtain money on false pretenses, misrepresentations,
18                      and/or omissions. Defendants’ use of mail formed a central
19                      feature of the scheme and included communications by form
20                      letters from LLO on LLO letterhead listing the Lonstein
21                      Defendants as attorneys, and includes the alleged “evidence”
22                      provided by Defendants Signal Auditing in the form of a “Site
23                      Inspection,” created by the Signal Auditing auditor at the
24                      direction of LLO, mailed to class member targets of the Scheme,
25                      and the series of follow up notices mailed to class members who
26                      did not fully pay the demanded amounts in response to the initial
27                      letter as described herein. In addition, class member victims
28                      were instructed by Defendants to send payments demanded
                                      - 25 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 26 of 31 Page ID #:880




 1                     either by wire as discussed below or by certified check through
 2                     the U.S. Mail.
 3               b.    Wire Fraud: Defendants violated 18 U.S.C. § 1343, by
 4                     transmitting, receiving or causing to be transmitted or received
 5                     materials and monies by wire for the purpose of executing the
 6                     Scheme to defraud and obtain money on false pretenses,
 7                     misrepresentations and/or omissions. Defendants instructed
 8                     Plaintiff and class members to make payments through the use
 9                     of interstate wire communications in violation of 18 U.S.C. §
10                     1343. The materials transmitted and/or received, include, but are
11                     not limited to, interstate credit card or bank transactions, emails
12                     to the target business owners, ACH debit transactions, and/or
13                     PayPal wire transmission to Defendants LLO which then such
14                     proceed split is then transmitted via wire and/or check to the
15                     other Defendants. On information and belief, Plaintiff alleges,
16                     all participants in the Scheme transmit and share information
17                     through an online web-based portal that can be accessed by all
18                     Scheme participants. Defendant Signal Auditing uses the portal
19                     to obtain the DirecTV “Legal Lists” and where the
20                     auditors/investigators transmit or upload site inspections
21                     showing “hits”. LLO accesses the portal to determine which
22                     small business owners to target with emails, letters and calls to
23                     obtain the Scheme proceeds.        Upon information and belief,
24                     Plaintiff further alleges Scheme proceeds are distributed to
25                     Scheme participants through wire transfers and/or U.S. Mail.
26        103.   Defendants have used email, U.S. mail and wires in connection with
27   every small business target and subsequently “audited,” and each use of the mails
28   and wires has furthered the fraudulent Scheme and enables Defendants to take
                                      - 26 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 27 of 31 Page ID #:881




 1   money and property from Plaintiff and putative class members by means of false
 2   pretenses and representations
 3        104.    Defendants violated 18 U.S.C. § 1962(d) by conspiring to engage in
 4   racketeering activity.
 5        105.    Defendants, individually and jointly, as part of an enterprise, agreed to
 6   commit more than two racketeering acts, with knowledge that the objective was
 7   unlawful and intended to further that unlawful objective. The multiple acts of
 8   racketeering activity that they committed and/or conspired to, or aided and abetted
 9   in the commission of, were related to each other, pose a threat of continued
10   racketeering activity, and therefore constitute a “pattern of racketeering activity.”
11        106.    Defendants’ predicate acts of racketeering within the meaning of 18
12   U.S.C. § 1961(1), include wire fraud and mail fraud as described herein to perpetuate
13   the Scheme described herein: (a) targeting and soliciting small business owners to
14   purchase satellite cable television services from DirecTV at a "special" price or rate;
15   (b) establishing a residential satellite cable television service account for the small
16   businesses although Defendants knew or should have known that the small business
17   owners intended to use those services in their businesses; (c) providing satellite cable
18   television to small businesses under residential accounts although the small business
19   owners relied upon Defendants to provide commercial services; (d) deliberately and
20   specifically targeting small business owners for a "signal audit'' based on a pre-
21   determined finding that the small business owners had "pirated" or "stolen" satellite
22   cable television services from DirecTV; and (e) threatening the small business
23   owners with repeatedly factual and legal misrepresentations in the form of claims of
24   amounts actually “owed”, threats of damage to credit profile, threats of sham
25   prosecution and/or costly legal action, threatening prosecution in an action involving
26   violations of the Communications Act of 1934, all undertaken in order to extort an
27   unreasonable and unconscionable "settlement" from them and increase DirecTV’s
28   lucrative commercial accounts. The predicate acts by the Enterprise have continued
                                       - 27 -
                       SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 28 of 31 Page ID #:882




 1   from at least 4 years prior to the filing of this action, during the pendency of this
 2   action and based on information and belief, will continue. Small business owners
 3   from various cities and states throughout the United States continue to be victimized
 4   by Defendants through this Scheme.
 5        107.    Defendants’ predicate acts of racketeering amount to a material scheme
 6   to defraud and to obtain money on false pretenses, misrepresentations, promises,
 7   and/or omissions.
 8        108.    Defendants      knowingly      and     intentionally     made      these
 9   misrepresentations, acts of concealment and failures to disclose. Defendants either
10   knew or recklessly disregarded that these were material representations and
11   omissions. Defendants, and all of them, participate in the Scheme designed to collect
12   from unsuspecting small business owners/consumers an unlawful debt.
13        109.    Plaintiff and those similarly situated to her have suffered harm and have
14   been injured from Defendants' violations of RICO in the amount of the unexpected
15   increased monthly fees, forced continued subscriber status, indebtedness, settlement
16   payments, either paid or to be paid, constituting overpayment for services and an
17   injury to property. In the absence of Defendants’ violations of 18 U.S.C. § 1962,
18   Plaintiff and the Class would not have incurred these concrete financial losses.
19        110.    Plaintiff’s and the Classes’ injuries were directly and proximately
20   caused by Defendants’ racketeering activity.
21        111.    Defendants knew and intended that Plaintiff and the Class would rely
22   on the Scheme’s fraudulent representations and omissions. Defendants knew and
23   intended Plaintiff and the Class would pay monies to Defendants as a result of threat
24   of sham litigation and misrepresentations of the ramifications if Plaintiff and the
25   Class did not pay.
26        112.    Plaintiff’s and the Classes’ injuries were directly and proximately
27   caused by Defendants’ racketeering activity.
28        113.    Defendants knew and intended that Plaintiff and the Class would rely
                                      - 28 -
                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 29 of 31 Page ID #:883




 1   on the Scheme’s fraudulent representations and omissions. Defendants knew and
 2   intended Plaintiff and the Class would pay monies to Defendants as a result of same.
 3         114.   Plaintiff and all others similarly situated are thus entitled to all
 4   appropriate legal and equitable relief, an award of treble their damages, plus
 5   attorney's fees, and costs pursuant to 18 U.S.C. § 1964(c).
 6                                PRAYER FOR RELIEF
 7         WHEREFORE, Plaintiff, on behalf of herself and all others similarly
 8   situated, demands judgment against Defendants as follows:
 9         1.     An order certifying the Class for money damages under Federal Rules
10   of Civil Procedure Rule 23, and appointing Plaintiff as Class Representative and
11   appointing her attorneys as Class Counsel;
12         2.     Order Defendants to engage in a corrective notice campaign, and
13   requiring Defendants to refund to Plaintiff and all Class Members the funds paid;
14         3.     An accounting of all amounts that Defendants collected from Plaintiff
15   and Class Members as a result of the Scheme;
16         4.     A judgment for actual damages;
17         5.     A judgment for compensatory damages;
18         6.     A judgment for treble damages under RICO;
19         7.     A judgment for reasonable attorney fees and costs of suit in connection
20   with this action, pursuant to the RICO [18 U.S.C. §1964(c)], California Civil Code
21   1021.5 and any other applicable statute;
22   ///
23   ///
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                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 30 of 31 Page ID #:884




 1         8.    A judgment for pre-judgment and post-judgment interest; and/or
 2         9.    A judgment for all such other and further relief as the Court deems
 3   equitable and just.
 4

 5

 6   Dated: February 20, 2019      MAHONEY LAW GROUP, APC
 7                                 LISA L. CAY, ATTORNEY AT LAW
 8
                                   /s/Kevin Mahoney
 9
                                   Kevin Mahoney
10                                 Katherine J. Odenbreit
                                   Atoy H. Wilson
11                                 Lisa L. Clay (Pro Hac Vice Pending)
12                                 Attorneys for Plaintiff, DONEYDA PEREZ, and
                                   on behalf of all others similarly situated
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                      SECOND AMENDED CLASS ACTION COMPLAINT
 Case 8:16-cv-01440-JLS-DFM Document 104 Filed 02/20/19 Page 31 of 31 Page ID #:885




 1                                     JURY DEMAND
 2         Plaintiff demands a trial by jury on all issues subject to trial.
 3

 4   Dated: February 20, 2019         MAHONEY LAW GROUP, APC
 5                                    LISA L. CAY, ATTORNEY AT LAW
 6
                                      /s/Kevin Mahoney
 7                                    Kevin Mahoney
 8                                    Katherine J. Odenbreit
                                      Atoy H. Wilson
 9                                    Lisa L. Clay (Pro Hac Vice Pending)
10                                    Attorneys for Plaintiff, DONEYDA PEREZ, and
                                      on behalf of all others similarly situated
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                      SECOND AMENDED CLASS ACTION COMPLAINT
